Case 2:22-cv-00323-RGK-JEM Document 6-2 Filed 01/18/22 Page 1 of 4 Page ID #:35




               EXHIBIT “B”
Case 2:22-cv-00323-RGK-JEM Document 6-2 Filed 01/18/22 Page 2 of 4 Page ID #:36




                1/14/2022
Case 2:22-cv-00323-RGK-JEM Document 6-2 Filed 01/18/22 Page 3 of 4 Page ID #:37




 1                                         PROOF OF SERVICE
 2   RE:     ROBERTSON vs UNIFYED LLC, et al. (Case No.: 21STCV37867)
 3          I am a citizen of the United States and employed in the County of Los Angeles, State of
     California. I am over eighteen (18) years of age and not a party to the above-entitled action. My
 4   business address is LYON LEGAL, P.C. 2698 Junipero Ave., Suite 201A, Signal Hill, CA 90755.
 5           On January 13, 2022, I served the foregoing document(s) described as:
 6
            NOTICE AND ACKNOWLEDGMENT OF RECEIPT
 7
            on the interested parties by placing a true and correct copy thereof in a sealed envelope(s)
 8   addressed as follows:

 9                           SEE ATTACHED PROOF OF SERVICE LIST

10   VIA OVERNIGHT MAIL:

11          by placing the above-listed document(s) in a sealed Federal Express envelope and affixing a
             prepaid airbill and causing the envelope to be delivered to a Federal Express agent for
12
             overnight delivery to the address(es) listed below.
13
     VIA U.S. MAIL:
14
            by placing the above-listed document(s) in a sealed envelope with postage prepaid in the
15           United States mail at Signal Hill, California to the address(es) listed below.
16   VIA PERSONAL DELIVERY:
17          by personally delivering the above-listed document(s) to the person(s) at the address(es)
18           listed below pursuant to CCP § 1011.

19   VIA ELECTRONIC MAIL:

20          I personally delivered such documents via electronic mail to the email address(es) listed
             below.
21
            I declare under penalty of perjury under the laws of the United States that the above is true
22   and correct.
23           Executed on January 13, 2022, at Signal Hill, California.
24                                                /s/Marisa Acedo
                                                  MARISA ACEDO
25

26

27

28
                                             PROOF OF SERVICE
Case 2:22-cv-00323-RGK-JEM Document 6-2 Filed 01/18/22 Page 4 of 4 Page ID #:38



                                     PROOF OF SERVICE LIST
      Madonna Devling, Esq.
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      Costa Mesa, CA 92626
      (714) 668-5592 – Telephone
      (714) 850-1030 – Facsimile

      Attorney for Defendants,
      UNIFYED, LLC and CAMPUSEAI, INC.




                                     PROOF OF SERVICE
